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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

ORACLE CORPORATION and ORACLE
AMERICA, INC.,

                Plaintiffs,                       Civil Case No. 1:12-cv-01154-GMS

       v.
                                                     JURY TRIAL DEMANDED
ADVANCED DYNAMIC INTERFACES,
LLC,

                Defendant.

ADVANCED DYNAMIC INTERFACES,
LLC,

                Plaintiff,                        Civil Case No. 1:13-cv-00397-GMS

       v.
                                                     JURY TRIAL DEMANDED
SALESFORCE.COM, INC.,

                Defendant.


     OPENING CLAIM CONSTRUCTION BRIEF OF ORACLE CORPORATION,
           ORACLE AMERICA, INC. AND SALESFORCE.COM, INC.


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I.     NATURE AND STAGE OF THE PROCEEDINGS

       Oracle Corporation and Oracle America, Inc. (collectively, “Oracle”) filed a declaratory

judgment action against Advanced Dynamic Interfaces, LLC (“ADI”) regarding the patents-in-

suit1 on September 18, 2012. See C.A. No. 12-1154, D.I. 1. On March 11, 2013, ADI filed an

action against salesforce.com, inc. (“Salesforce”) alleging infringement of the patents-in-suit.

See C.A. No. 13-397, D.I. 1. The Oracle and Salesforce actions have been coordinated for

Markman purposes. Oracle and Salesforce respectfully submit their opening claim construction

brief addressing the disputed terms requiring construction by the Court.2

II.    SUMMARY OF THE ARGUMENT

       ADI proposes claim constructions that run afoul of controlling Federal Circuit precedent,

all in an effort to stretch the patents-in-suit to cover products and methods that were never

disclosed or claimed. ADI’s constructions impermissibly divorce the disputed terms from their

context within the claims, improperly rely on general purpose dictionary definitions that are

inconsistent with the intrinsic evidence, and ignore the specification’s limiting description of

“the present invention.” See Verizon Service Corp. v. Vonage Holdings Corp., 503 F.3d 1295,

1308 (Fed. Cir. 2007) (holding that when a patent “describes the features of the ‘present

invention’ as a whole, this description limits the scope of the invention”). By contrast, Oracle

and Salesforce’s constructions should be adopted because they accurately reflect the scope of the

claimed inventions, viewed in light of the disclosure in the specification and the context-relevant

extrinsic evidence. “‘The construction that stays true to the claim language and most naturally

aligns with the patent’s description of the invention will be, in the end, the correct construction.’”
1
    The patents-in-suit are U.S. Patent No. 7,062,502 (“the ’502 patent”) and U.S. Patent No.
7,401,094 (“the ’094 patent”).
2
    Oracle and Salesforce contend that the term “appropriate,” as used in both patents-in-suit, is
indefinite, but do not request that the Court address construction of that term at this time. See
infra at section V.D.

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Phillips v. AWH Corp., 415 F.3d 1303, 1316 (Fed. Cir. 2005) (en banc) (quoting Renishaw PLC

v. Marposs Societa' per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998)).

III.   LEGAL PRINCIPLES

       The Federal Circuit has instructed that when construing a claim, significant weight

should be afforded to the intrinsic evidence (the claims, the specification, and the prosecution

history). Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996) (“[I]ntrinsic

evidence is the most significant source of the legally operative meaning of disputed claim

language.”). Such evidence constitutes the “public record of the patentee’s claim, a record on

which the public is entitled to rely.” Id. at 1583.

       In considering the intrinsic record, the claims themselves “are ‘of primary importance, in

the effort to ascertain precisely what it is that is patented.’” Phillips, 415 F.3d at 1312 (quoting

Merrill v. Yeomans, 94 U.S. 568, 570 (1876); id. at 1314 (“[T]he context in which a term is used

in the asserted claim can be highly instructive.”). For instance, a patentee’s decision to use

different claim terms, particularly within a single clause of the claims, creates a presumption that

those terms have different meanings. Helmsderfer v. Bobrick Washroom Equip., Inc., 527 F.3d

1379, 1382 (Fed. Cir. 2008).

       Claim terms also must be interpreted in the broader context of the teaching of the

specification. Phillips, 415 F.3d at 1315 (“The specification is always highly relevant to

the claim construction analysis. Usually, it is dispositive; it is the single best guide to the

meaning of a disputed term.”) (internal quotation marks omitted). In this endeavor,

understanding the problem that the inventors were seeking to solve and their proposed solution is

often highly probative. See Voice Techs. Group, Inc. v. VMC Systems, Inc., 164 F.3d 605, 615

(Fed. Cir. 1999) (finding the inventor’s “explanation of the problems that existed at the time the

invention was made and the inventor’s solution to these problems” relevant to the claim
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construction analysis). In addition, the specification may use language which signals that a

specific meaning is intended. For example, when a patent uses the phrase “the present

invention,” and then proceeds to describe components and characteristics of “the present

invention,” “this description limits the scope of the invention.” Verizon, 503 F.3d at 1308.

        Extrinsic evidence, especially in the form of technical dictionaries, may also be

considered and “can shed useful light on the relevant art.” Phillips, 415 F.3d at 1317-18.

However, any extrinsic evidence must be tied to the context of the invention disclosed and

claimed in the patents-in-suit and cannot change the meaning of a term as established by the

intrinsic record. Phillips, 415 F.3d at 1322 (“[A] general-usage dictionary cannot overcome art-

specific evidence of the meaning of a claim term.”); id. at 1321 (“[H]eavy reliance on

the dictionary divorced from the intrinsic evidence risks transforming the meaning of the claim

term to the artisan into the meaning of the term in the abstract, out of its particular context, which

is the specification.”).

IV.     STATEMENT OF THE FACTS

        The patents-in-suit describe a specific way, through software, to automate certain aspects

of creating a custom graphical user interface for a relational database. See ’502 patent at

Abstract, 1:15-20.3 A “graphical user interface” is, and has been for decades, the common

method by which a person interacts with a computer using a mouse or a touch interface, e.g.,

through visual menus, drop-down boxes, and other graphical mechanisms. It stands in contrast

to a textual interface, in which all commands are entered solely by typing them into a console. A

“relational database” is a specific type of database that stores data in tables that are “related” to

each other. ’502 patent at 17:30-33 (describing “various popular relational database systems,
3
    The ’094 patent issued from a continuation of the application for the ’502 patent, and thus the
patents-in-suit share a similar specification. For purposes of simplicity, all citations are made to
the ’502 patent, except where otherwise noted.

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such as Microsoft SQL Server and Oracle”); Table 1 (defining “relational database”). For

example, a “customer” table for a sales database might contain columns (alternately known as

“fields”) for customers’ names, addresses, telephone numbers, etc., and each entry in a row of

data (collectively known as a “record”) contains that information about a particular customer. Id.

at 1:27-28; Table 1 (defining “field” and “record”). A separate “customer order” table might

include information about each order made, including, for example, the date ordered and the date

shipped. The two tables might be related to each other by the inclusion of an entry in each

record in the customer order table that identifies the ordering customer and refers back to the

customer table. See Fig. 4 (showing the relationship between the top-left tables “CUSTOMER”

and “CUSTOMER_ORDER,” linked by the “CUSTOMER_ID” field); Fig. 84 (illustrating the

addition to the “CUSTOMER_ORDER” table of a new “REQUESTED_DATE” field). In this

way, the information about the customer (name, address, etc.) can be tied to one or more orders

without storing the customer information repeatedly for every order the customer makes.

       As a whole, the collection of tables and their relationships to each other are known as the

“schema” of the database. Id. at Table 1 (defining “schema”)4. Information about the schema is

referred to in the patents as “metadata”—i.e., it is data generated by the claimed software about

the structure of the database, as opposed to the actual data in the rows of the tables. Id. at Table

1 (defining “metadata”). The patents also use the term “metadata” to refer to information that

the claimed user-interface generation software both produces and then uses to generate a custom

user interface, such as data-entry forms and menus. Id. at 8:6-11. For example, the claimed

software might generate specific user-interface metadata which it then uses to produce a user

interface that displays data in a particular order. See id. at 22:11-18.

4
  More particularly, the “schema” is a “collection of database objects that includes tables, views,
indexes, and foreign keys.” Id. at Table 1.

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       At a high level, the patents are directed to generating metadata representing the structure

of a relational database (“schema”), storing the metadata in a distinct repository, and using this

metadata to generate a user interface. The patents set forth this architecture (referred to in the

specification as “the present invention”) in Figure 2:




Id. at Fig. 2.5 The diagram of the invention depicts (1) extracting information about the structure

of the relational database (“Schema Information” at upper left), (2) generating metadata about

the schema and about the graphical user interface (“Schema and User Interface Information,” at

bottom left) and storing them in a repository (at bottom) distinct from the database, and (3)

creating a graphical user interface “automatically” from the stored metadata. Id. at 8:1-20.

       The patents claim that “numerous advantages” flow from generating schema metadata

and user interface metadata and storing these metadata in the separate configuration repository.

Id. at 8:1-20. These advantages include the ability to generate multiple user interfaces with a

single instance of the claimed software, id. at 39:52-55 and Fig. 76, and the flexibility to develop

interfaces for relational databases from different database software vendors, id. at 17:26-41.


5
    To provide a more legible image, the figure presented above has been captured from the file
history of ’502 patent, produced at ADI000269, rather than from the issued ’502 patent. The
content of the figures is identical.

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V.     ARGUMENT

       A.      “repository” (’502 patent, independent claims 1, 7, and 13; ’094 patent,
               independent claims 1, 8, and 15)

  Oracle and Salesforce’s Proposed                 ADI’s Proposed Construction
  Construction
  “memory structure distinct from the              “a place where data is stored”
  relational database for storing metadata”

       All the independent claims of the patents-in-suit require a “repository” for storing schema

metadata and graphical user interface metadata. The parties dispute whether the repository must

be distinct from the relational database for which the graphical user interface is to be generated

(Oracle and Salesforce’s construction), or whether the repository could be any structure where

data could be stored, including that same relational database mentioned elsewhere in the claim

(ADI’s construction).

       The plain and ordinary meaning of the claim language requires that the metadata be

stored in a repository that is separate and distinct from the relational database. Claim 1 of the

’502 patent describes two distinct structures, namely, a “relational database” and a “repository”:

       utility software extracting schema information from the relational database and
       automatically generating corresponding schema and graphical user interface metadata
       stored in a repository; …

’502 patent, claim 1. The patentee’s use of the terms “relational database” and “repository” in

the same claim, particularly in the same clause, suggests that the terms refer to different

structures. See Ethicon Endo–Surgery v. U.S. Surgical Corp., 93 F.3d 1572, 1579 (Fed. Cir.

1996) (“If the terms ‘pusher assembly’ and ‘pusher bar’ described a single element, one would

expect the claim to consistently refer to this element as either a ‘pusher bar’ or a ‘pusher

assembly,’ but not both, especially not within the same clause.”) (italics omitted); Helmsderfer,

527 F.3d at 1382 (“[D]ifferent claim terms are presumed to have different meanings.”). Had the

patentee intended that “repository” cover the “relational database” and any other storage device,

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as ADI’s construction would permit, the patentee easily could have drafted the claim language to

make that clear, as illustrated below:

               utility software extracting schema information from the relational
               database and automatically generating and storing corresponding
               schema and graphical user interface metadata stored in a
               repository;

As shown above, by inserting “and storing,” and by deleting “stored in a repository,” the claim

would have made clear that the storage location was not important and could have included the

database from which the schema information was extracted. But the patentee did not do so.

Instead, the claims as written require that the metadata be stored “in a repository.” Id. at claim 1.

       The specification uniformly supports Oracle and Salesforce’s interpretation that the

“relational database” and the “repository” are distinct. The ’502 patent explains that “the present

invention proposes the high level architecture depicted in Fig. 2,” which clearly illustrates the

separation of the repository and the relational database. Id. at 8:1-2, Fig. 2.




The Federal Circuit has explained that “[w]hen a patent thus describes the features of the

‘present invention’ as a whole, this description limits the scope of the invention.” Verizon, 503

at 1308 (emphasis added). The patents explain that “under this architecture” depicted in Figure

2—which is the sole embodiment disclosed in the specification—information regarding database

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structure (the “schema”) is obtained first from the relational database, and then corresponding

schema metadata and graphical user interface metadata are stored in the configuration repository.

Id. at 8:2-8 (“Information gleaned from the schema is used to populate the configuration

repository with metadata.”); Fig. 2.

       ADI’s proposal that “repository” should be construed as any “place where data is stored”

improperly broadens the claims. Contrary to this construction, Figure 2 does not show metadata

being stored in the relational database itself, and the patents never describe storing schema and

graphical user interface metadata in that same database. In fact, the patents explain the opposite:

that storing schema and user interface information in a distinct configuration repository, and not

in the relational database from which it was extracted, is central to the patents-in-suit:

       A key principal behind the present invention is that the structure, or schema, of a
       relational database provides a significant amount of useful information with respect to the
       data entry user interface. While it is theoretically possible to generate a user interface
       directly from the database schema without the use of a configuration repository, the
       layer of abstraction offered by the repository has numerous advantages. These
       advantages will be explored in depth in the remainder of this document.

Id. at 8:12-20.

       The specifications then describe two advantages of a distinct configuration repository.

First, by saving metadata in a distinct configuration repository and not in the relational database,

a single instance of the user-interface generation software can be used to develop multiple

interfaces. See id. at 39:52-55, Figs. 75-76 (listing different configuration repository files for

“Customer Orders” and “Employee Expense Reports” that are available for use by the user-

interface generation software). Second, by having a repository separate from the relational

database, it is simpler to adapt the claimed invention to develop interfaces for different vendors’

databases (e.g., Oracle’s and Microsoft’s). Id. at 2:34-39, 12:67-13:2. ADI’s construction

improperly ignores the patents’ description of these issues and the specific approach that the


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patents adopt to address them. See Voice Techs., 164 F.3d at 615 (finding the inventor’s

“explanation of the problems that existed at the time the invention was made and the inventor’s

solution to these problems” relevant to the claim construction analysis).

       To support its construction, ADI relies on the most general definition of “repository” in a

non-technical dictionary. See Ex. A, Webster’s Third New International Dictionary, Unabridged

(2002). This general definition improperly divorces the claimed repository from its function and

from the purpose of the invention, as disclosed and claimed in the patents-in-suit. See Phillips,

415 F.3d at 1321 (“[H]eavy reliance on the dictionary divorced from the intrinsic evidence risks

transforming the meaning of the claim term to the artisan into the meaning of the term in the

abstract, out of its particular context, which is the specification.”); id. at 1322 (“[A] general-

usage dictionary cannot overcome art-specific evidence of the meaning of a claim term.”)

(internal quotation marks omitted). Such a broad construction is inconsistent with the plain

language of the claims, which use different terms for “relational database” and the “repository.”

       ADI’s construction also conflicts with what the specifications describe as “the present

invention,” shown in Figure 2. This is improper. See Verizon, 503 F.3d at 1308 (holding that

when a patent “describes the features of the ‘present invention’ as a whole, this description limits

the scope of the invention”). As discussed above, Figure 2 requires extracting the schema

information from the relational database and storing the corresponding metadata in a distinct

configuration repository in order to capture the “numerous advantages” of this architecture. Id.

at 8:1-20, Fig. 2. Indeed, the only embodiment in the patents illustrates the process of creating

and saving metadata in a distinct “configuration repository” file. Id. at Fig. 58 (saving a “New

Configuration Repository”). Accordingly, Oracle and Salesforce’s proposed construction of

“repository” should be adopted.



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       B.      “compilation of code” (’094 patent, independent claims 1, 8, and 15)

  Oracle and Salesforce’s Proposed                ADI’s Proposed Construction
  Construction
  “translation of all or part of a program             “the process where a programmer uses a
  expressed in high-level language into a              program that translates source code, a
  computer program expressed in an                     language in which programmers can read
  intermediate language, an assembly language          and write, into machine code, which is the
  or a machine language”                               language a computer can execute”

       Claims 1, 5, and 8 of the ’094 patent require the step of “automatically . . . developing” a

graphical user interface “without compilation of code before runtime.” The parties dispute

whether the claim term “automatically . . . developing . . . without compilation of code,” means,

as the plain language provides, that all types of compilation should be avoided (Oracle and

Salesforce’s construction), or whether these claims broadly cover “automatically . . . developing”

that permits certain types of code compilation (ADI’s construction). Specifically, ADI’s

construction would permit all types of compilation, except compilation to “machine code, which

is the language a computer can execute.” In contrast, Oracle and Salesforce’s proposal would

not permit any kind of code compilation, including very common types of compilation such as

compiling to assembly language or an intermediate language. Oracle and Salesforce’s

construction is consistent with the purpose of the ’094 patent, which is to avoid the complexity

and maintenance associated with code compilation in general. And because the ’094 patent

makes no distinction between different types of compilation in the claims or specification, Oracle

and Salesforce’s construction reflects the only correct understanding of the claim term.

       Techniques for compiling code were well-known in the field of computer science long

before the patents-in-suit were filed. Software engineers typically write code in a high-level

language called source code, which is designed to be read and written by humans. Such high-

level languages use descriptive variable names (such as “customer_name”) and other syntactic


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conveniences that make reading and maintaining the code easier. The source code is then

compiled (by a software program known as a “compiler”) from the source code into a lower-

level language. The code may be compiled into “native” machine code, such that it can be

executed directly by a particular piece of hardware (e.g., an Intel microprocessor), or it may be

compiled into an intermediate language (e.g., for execution on the Java Virtual Machine, a piece

of software that emulates a microprocessor). See Ex. B, Microsoft Computer Dictionary 252

(4th ed. 1999) (“Java n. . . . Java programs are compiled into bytecode, which is not refined to

the point of relying on platform-specific instructions and runs on a computer in a special

software environment known as a virtual machine.”) (second emphasis added). This latter

“virtual machine” approach is useful because the source code does not need to be compiled for

each machine upon which it runs—it only needs to be compiled once for a virtual machine and

can then execute on that virtual machine, which may in turn run on many different types of

hardware. Id. Although compilation to virtual machines was well-established at the time of the

filing of the patents, ADI’s construction would permit compilation to such intermediate

languages as part of the “automatically . . . developing” step, despite the claims’ requirement that

compilation not occur.

       The claim language states, in absolute terms, that the “automatically . . . developing” step

must occur “without compilation of code,” regardless of what kind of compilation. Claims 1, 8,

and 15 all require software that “automatically” develops a graphical user interface from

metadata about a database schema. In each case, the claims clarify that this development process

occurs “without compilation of code before runtime.” Claim 1 is exemplary:

       Computer software for automatically generating a graphical user interface for a
       relational database, said software embodied in a computer readable medium having a set
       of computer instructions encoded thereon and comprising:

       utility software extracting schema information from the relational database and
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       automatically generating corresponding schema and graphical user interface metadata
       stored in a repository; and

       user interface software at runtime automatically, and without compilation of code before
       runtime, developing from the metadata a graphical user interface appropriate to the
       relational database.

’094 patent, at claim 1. The claim language focuses on software that performs certain steps

“automatically.” The first step extracts schema information and then “automatically” generates

certain “metadata.” The second step requires “automatically . . . developing” a “graphical user

interface” from that “metadata.” The second step additionally specifies that no compilation

happens before runtime, providing additional clarity what the phrase “automatically . . .

developing” means. Thus, the plain reading of the claim requires that the “developing” step

proceed “without compilation,” regardless of type. Nothing in the claim language suggests that

“without compilation of code” applies only to compilation to a machine language and not to

compilation to an intermediate language, as ADI’s construction specifies.

       The specifications confirm the purpose of this limitation was to perform the

“automatically . . . developing” step without any type of compilation because compilation adds

complexity and maintenance costs to the process. ’502 patent at 2:25-33, 7:61-67. Nothing in

the specification suggests that some types of compilation would be acceptable. On the contrary,

the specifications treat compilation as something to be avoided, no matter whether the

compilation is directed to machine code, to virtual machine code, or to some other format. For

example, one specific problem the patents identify is the overhead and cost associated with

compilation as part of the “automatically . . . developing” step. Id. The specifications illustrate

this problem in the prior art method for developing a graphical user interface from a database.

Id. at 2:25-33. If the underlying database structure changes (e.g., by adding a new field to a

table), the complexity and maintenance costs associated with prior art development methods,


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which involve compiling code every time the database changes, are incurred again:

            A key problem arises with the form-based user interface depicted above
            in that if a new data element (i.e., field) is added to a table in the
            database, a new data entry control must be added to the table's
            corresponding form in the user interface. This modification requires
            further programming effort, additional testing, and a recompilation
            and redeployment of the user interface. So not only is the user interface
            extremely expensive to develop in the first place, it is also very costly to
            maintain over the lifetime of the database.

Id. at 2:25-33. In the detailed description of the invention, the specification again emphasizes the

need to avoid compilation of code:

            As alluded to above, the high cost of developing and maintaining data
            entry user interfaces in the prior art is largely attributed to the tight
            coupling of data entry forms with the structure of the underlying
            relational database. This problem is further aggravated by the common
            practice of hard coding navigation, business rules and Structured Query
            Language (SQL) into the source code of the user interface, thus
            requiring a recompilation and redeployment of the user interface
            software when modifications to the database structure and/or changes to
            business logic are made.

Id. at 7:57-67; see also id. at 33:40-43 (“Remember, the underlying premise of the present

invention is that computer code is extremely expensive to develop and maintain.”). ADI’s

approach suggests that the development and maintenance costs associated with, for example,

compilation to an intermediate language, are not substantial and therefore need not be avoided.

But nothing in the real world, or in the patents, supports this conclusion. Thus, performing the

“developing” step “without compilation of code,” regardless of the type of compilation, is

consistent with the purpose of the patents-in-suit, which is to automate the process of producing

a graphical user interface from a database without costly development and maintenance steps.

Id. at 1:52-2:12, 2:25-33, 3:5-8.

       The extrinsic evidence also supports Oracle and Salesforce’s construction. The 1994

edition of the IBM Dictionary of Computing expressly includes compilation to “an intermediate

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language, an assembly language, or a machine language” in its definition of “compile”:

            compile (1) To translate all or part of a program expressed in a high-
            level language into a computer program expressed in an intermediate
            language, an assembly language, or a machine language. . . .

Ex. C, IBM Dictionary of Computing (1994) (second emphasis added). The 1987 version of the

same dictionary (which ADI cites in support of a different term) is almost identical:

            compile 1. To translate a program expressed in a high-level language
            into a program expressed in an intermediate language, assembly
            language, or a computer language.

Ex. D, IBM Dictionary of Computing (1987) (second emphasis added).

       Not even the dictionaries upon which ADI relies support its attempt to limit “compiling”

to producing machine code ready for execution on hardware. For example, ADI cites the

Microsoft Computer Dictionary, which states that “compiling is sometimes used to describe

translating any high-level symbolic description into a lower-level symbolic or machine-readable

format.” Ex. B, Microsoft Computer Dictionary 100 (4th ed. 1999). Even the narrowest

dictionary definitions provided by ADI are broader than its proposed construction, because they

make clear that compilation covers not only the conversion of source code into machine code,

but also into its “equivalents” or “a variation.” Id. (definition of “compile”); Ex. E, IEEE

Standard Glossary of Software Engineering Terminology (1990) (definition of “compiler”).

Thus, ADI’s own dictionaries do not support the narrow construction of “compile” that it has

proposed. Even if they did, ADI has selected a construction of “compilation” that conflicts with

the consistent disclosures in the specification that require performing the “automatically . . .

developing” step “without compilation of code” of any kind. This is improper. Phillips, 415 F.

at 1324 (holding that extrinsic sources may be used “as long as those sources are not used to

contradict claim meaning that is unambiguous in light of the intrinsic evidence”).



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         Nothing in the claims or the specifications differentiate between one type of compilation

and another. This is because it would make little sense to claim an “automatic” step of

developing the graphical user interface “without compilation of code,” where that phrase applies

to one kind of compilation step but not others. All types of compilation contribute to the

maintenance and cost problems identified in the specifications. Indeed, nothing in the

specification suggests that compilation to an intermediate language would be any less

troublesome than compilation to native machine code.

         C.      “entity” (’502 patent, dependent claims 2, 8, and 14; ’094 patent,
                 independent claims 2, 9, and 16)

    Salesforce’s Proposed Construction6              ADI’s Proposed Construction
    “a representation of a physical database table    “an entity represents anything about which
    that is stored in the repository”                 information can be stored in a database,
                                                      for example, a person, concept, physical
                                                      object, or event”

         Several of the dependent claims of the ’502 and ’094 patents require “entities,” and more

particularly, that the claimed “schema and user interface metadata” comprise such entities. The

parties dispute whether the “entities” are representations of the physical database tables of the

relational database, as the patentee defined in the specification (Salesforce’s construction), or

whether the entities can represent anything, about which any kind of information, regardless of

structure or type, can be stored in a database (ADI’s construction).7

         As discussed above in Section IV, the patents-in-suit are directed to generating metadata

that represent the structure (“schema”) of a relational database, and storing the metadata in a

repository. This is reflected in claim 1 of the ’502 patent, which is representative of other

6
    Oracle takes no position as to whether this term should be construed or, if construed, what
the proper construction should be.
7
   ADI’s proposed construction leaves unclear whether “entities” represent the stored
information itself (i.e., “for example, a person, concept, physical object, or event”) or instead
represent information about the stored information (i.e., metadata).

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independent claims in the patents:

       utility software extracting schema information from the relational database and
       automatically generating corresponding schema and graphical user interface
       metadata stored in a repository

’502 patent, claim 1. Thus, as set forth in the claim language, the corresponding schema and

graphical user interface metadata is generated from the extracted schema.

       Dependent Claim 2 of the ’502 patent then specifies that “entities” are one specific type

of metadata representing the schema:

       The computer software of claim 1 wherein schema and user interface metadata
       comprise entities, entity fields, entity relationships, and entity search paths.

Id. at Claim 2. The intrinsic record makes clear that “entities” are not simply a representation of

any kind of information that could be stored in a database, but instead are a particular type of

metadata generated by the claimed software that represents physical database tables.

       First, the patentee in this instance acted as his own lexicographer, and provided an

express definition of the term “entity” as indicated by the use of quotation marks below:




Id. at 9:45-59; see Sinorgchem Co., Shandong v. Int’l Trade Co, 511 F.3d 1132, 1136–39 (Fed.

Cir. 2007) (“The term ‘controlled amount’ is set off by quotation marks—often a strong

indication that what follows is a definition.”); Netscape Comm’n Corp. v. ValueClick, Inc., 684

F.Supp.2d 678, 688 (E.D. Va. 2009) (“Significantly, the patentee's intention to act as

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lexicographer is evidenced by two recognized indicators: (i) the use of quotation marks around

the claim term ….”). In addition to this express definition, the specification elsewhere confirms,

when describing how metadata is generated, (’502 Patent, “Metadata Generation”, starting at

17:26), that entities are generated to represent tables: “One entity is created for every table in

the database.” Id. at 17:52.

       Salesforce’s proposed construction is further in accordance with the specification’s

disclosure regarding “schema,” “entities,” and related metadata structures stored in the

repository. More particularly, “schema” is defined as “collection of database objects that

includes tables, views, indexes, and foreign keys.” Id. at Table 1. “Entities” cannot simply

represent any kind of information that could be stored in a database; rather, they must be

representative of an element that specifically defines the structure of the database in accordance

with the definition of “schema,” i.e., database tables.

       Next, as referenced above, the configuration repository described above “consists of

highly structured metadata,” (’502 patent, at 9:48-49 (emphasis added)), which highly structured

metadata include “entities,” “entity fields,” and “entity relationships” See generally, id. at 9:51-

13:2. Similarly to entities, the specification defines a specific relationship between physical

database tables and “entity fields” and “entity relationships,” i.e., “‘Entity fields represent fields

within database tables,” id. at 10:30, and “Entity Relationships” are “Relationships between

database tables,” id. at 10:46. Thus, each of these other “highly structured” types of metadata—

“entity fields” and “entity relationships”—are also defined in terms of “database tables,” further

confirming that “entities” are representations of “database tables.”

       ADI’s proposed construction ignores the intrinsic evidence. First, there is simply no

disclosure in the specification that an entity represents “anything about which information can be



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stored in a database,” as ADI claims. Second, under ADI’s proposed construction, “entities”

might not be a form of metadata at all. However, ADI’s disclosure of “Intrinsic Evidence”

notably omits reference to column 9, lines 45-52—critical context highlighted above confirming

that “entities” are a form of highly structured metadata. ADI further omits reference to the

statement in the specification that “[o]ne entity is created for every table in the database,” id. at

17:52, as well as to the related definitions of “Entity Fields” and “Entity Relationship,” id. at

10:30, 10:46, which likewise make clear an entity is a form of metadata.

       Even the truncated intrinsic evidence actually disclosed by ADI—seven lines and two

figures—is consistent with or expressly supports Salesforce’s proposal that “entities” are a form

of metadata that represent database tables. First, ADI itself points to part of the definition of

“Entities” that expressly states that “[p]hysical database tables” —and not “anything about which

information can be stored in a database” —are “represented by ‘entities.’” Id. at 9:53-59.

Second, ADI points to Figure 4, which depicts an “Entity Relationship Diagram” for an

“example database.” This figure, however, neither defines “Entity” nor depicts ADI’s claimed

invention—the applicants neither claim to have invented the “example database” nor this “Entity

Relationship Diagram.” Rather, the sole named inventor conceded during prosecution of the

’502 patent that the “Entity relationship diagrams” that he prepared and filed with the Patent

Office depict “portions of the metadata database” that are “discussed in the Configuration

Repository section of the patent application” – thereby confirming that the entities are metadata.

Second Decl. John Kesler at ADI000819 (June, 11, 2004). Finally, ADI points to Figure 61 and

“associated text,” which undermine ADI's proposed construction. In particular, this “associated

text” states: “In Fig. 61, the Refresh process has completed and the Customer Order entity

metadata is shown.” Id. at 38:64-65. That is, Figure 61 depicts a list of metadata stored in the



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repository that corresponds to physical database tables, such as the “Customer Order” table—in

accordance with Salesforce’s, not ADI’s construction.

       D.      “appropriate to the relational database” (’502 patent, independent claims 1,
               7, and 13; ’094 patent, independent claims 1, 8, and 15)

  Oracle and Salesforce’s Proposed                 ADI’s Proposed Construction
  Construction
  Indefinite                                            This term is not indefinite. The plain and
                                                        ordinary meaning governs the construction
                                                        of this phrase, and it does not need to be
                                                        construed.
                                                        If the Court determines construction of
                                                        this phrase is necessary, ADI proposes
                                                        that “a user interface appropriate to the
                                                        relational database” means “a user
                                                        interface that allows viewing and editing
                                                        of data in the database”

       The independent claims of the patents-in-suit require “developing from the metadata a

user interface appropriate to the relational database.” Oracle and Salesforce contend that the

phrase “appropriate to the relational database” is indefinite because, among other things, it fails

to “delineate the scope of the invention using language that adequately notifies the public of the

patentee’s right to exclude.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347

(Fed. Cir. 2005) (affirming lower court’s grant of summary judgment that sole independent claim

is invalid as indefinite due to the phrase “aesthetically pleasing” because the “scope of claim

language cannot depend solely on the unrestrained, subjective opinion of a particular individual

purportedly practicing the invention”); Shire LLC v. Teva Pharm. USA Inc., C.A. No. 10-329,

2012 WL 975694, *3 (D. Del. 2012) (rejecting plaintiffs’ proposed construction of “desired level

and duration of behavioral inhibition” under Datamize because the construction “does not

provide any objective definition identifying a standard for determining when the degree and

length of time of behavioral improvement has been reached”). ADI contends the phrase is not


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indefinite and does not require construction. In light of the parties’ positions and the Court’s

practice of resolving indefiniteness through summary judgment or at trial rather than through

claim construction, Oracle and Salesforce do not request that the Court address the term

“appropriate” at this time.

       E.      Structure For “repository means for containing said metadata” (’502 patent
               independent claim 7; ’094 patent, independent claim 8)

       The parties’ sole dispute relating to this limitation is whether the corresponding structures

for performing the function “containing said metadata” include structures8 related to filters used

for advanced searching against entities stored in the repository. Specifically, a user conducting

an advanced search can access a list of filters for searching “entities defined in the search path of

the parent entity.” ’502 patent, 16:19-20. ADI asserts that the portion of the specification stating

that such “filters” used for “advanced searching” “may be saved for later reuse using Extensible

Markup Language (XML) as illustrated in FIG. 29” is structure corresponding to the claimed

function of “containing said metadata.” Id.at 16:29-31. However, the specification provides no

connection between the filters used for searching entities (or the storage of any such filters) and

the “containing” of any “metadata” in the repository. As a result, there is no disclosure that these

“structures” identified by ADI correspond to the claimed function. B. Braun Med., Inc. v. Abbott

Labs., 124 F.3d 1419, 1424 (Fed. Cir. 1997) (“[S]tructure disclosed in the specification is

‘corresponding’ structure only if the specification or prosecution history clearly links or

associates that structure to the function recited in the claim.”).

VI.    CONCLUSION

       For the reasons above, Oracle and Salesforce respectfully request that their proposed

claim constructions be adopted by the Court.
8
   The disputed structures are ’502 Patent, Fig. 29 (and associated text), Col. 4, Table 1 (entry
for “Extensible Markup Language (XML)”), and 6:18-19

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